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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the~

Southern District of Texas

 

United States of America ) :
Vv. )
~ Q{ Francisco Javier GOMEZ ) CaseNo. M-19 - |133-M- Ol
YOB: 1971 )
)
)
Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of May 16, 2019 in the county of Hidalgo in the
Southern District of __ Texas , the defendant(s) violated:
Code Section , Offense Description \
18 USC Section 554 Did knowingly and unlawfully export or attempt to export from the United

States, any merchandise, article, or object, to wit: 3000 rounds of 7.62 x 39 ©
caliber ammunition, as defined by the United States Munitions List, coritrary

. to any law or regulation of the United States, in that the Defendants had not
obtained a license or written authorization for such export, in violation of Title
22, United States Code, Sections 2778(b)(2) and 2778(c) and Title 22, Code
of Federal Regulations, Sections 121.1,123.1, 127.1 and 127.3 all in violation
of Title 18, United States:Code, Section 554. s

This criminal complaint is based on these facts:
See Affidavit

@ Continued on the attached sheet.

Apel y AV35 bol ley bie

omplainant 's signature

 

 

 

Sf 3, 12 of $30 an co Ryan McTaggart Special Agent HSI

Printed name-and title
Sworn to before me and signed in my presence.
Date: ©, S/F /L9 7 2 -/4@ th, . ONKEA
“a Judge's signature .

City and state: McAllen, Texas Juan F. Alanis United States Magistrate Judge
. . Printed name and title
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Attachment “A”
j

On May, 16, 2019, Homeland Security Investigations (HSI) Special Agents (SA) received
information regarding a suspicious purchase of ammunition from a Federal Firearms Licensee “
(FFL) in McAllen, Texas.

SAs responded to the area and observed a male, later identified as Francisco GOMEZ (hereafter
referred to as GOMEZ) who matched the physical description of an individual involved in the
suspicious purchase, loading packages into a truck bearing Mexican license plates.

Surveillance was initiated on the vehicle as it departed the FFL and when the vehicle stopped in

a public parking lot, SAs approached GOMEZ and identified themselves to GOMEZ. During the _
consensual encounter GOMEZ stated GOMEZ had ammunition in the vehicle but when asked by
SAs if GOMEZ owned any firearms, GOMEZ stated, “No.” GOMEZ offered to show SAs the
ammunition and SAs observed multiple packages of ammunition, including 7. -62 x 39 caliber
ammunition, in the passenger, side of GOMEZ vehicle.

On May 16, 2019, GOMEZ, under rights advisement and waiver, stated GOMEZ was recruited
to purchase the ammunition by an unnamed co-conspirator, in Mexico, for the unnamed co-
- conspirator in Mexico. GOMEZ stated GOMEZ received the money to purchase the ammunition
and instructions on what ammunition to purchase from the unnamed coconspirator in Mexico
and then traveled to the United States to purchase the ammunition.

GOMEZ stated after purchasing the ammunition GOMEZ was going to‘turn the ammunition
‘ over to another unnanied co- conspirator who GOMEZ believed would smuggle the ammunition
into Mexico. - :

GOMEZ stated GOMEZ knew it was illegal to smuggle ammunition into Mexico’ and GOMEZ
had previously purchased ammunition for. the unnamed co-conspirator in Mexico on at least two
(2) occasions, ) i

According to the Department of State, Office of Defense Trade Controls Compliance (DTCC),
7.62 x 39 caliber ammunition is determined to be a defense article described on the United States
Munitions List (USML) and regulated for export pursuant to the Arms Export Control Act (22
U.S.C. 2778).
